APPEARANCE | STATE OF CONNECTICUT Instructions -~ See Back/Page 2
P.B. §§ 3-1 IMU 3, 8, 1049, a6Av2 SUPERIOR POURT ADA Notice — See Back/Page 2

Notice To Self-Represented Parties
- A self-represented party Is a person who represents himself or herself. if you are a self-
represented party and you filed an appearance before and you have since changed your address,

you must let the court and all attorneys and se/f-represented parties of record know that you have Return date
changed your address by checking the box below: . 08/29/2018
[J | am filing this appearance to let the court and all attorneys and self-represented Docket numbar
parties of record know that | have changed my address, My new address Is below. FST-CV18-6036679-8

Name of case (Full nameiof Plointif’vs. Full name of Oefendand
WILMINGTON, TRUST, NATIONAL ASSOCIATION VS. KRISHNA, SUNEETA, ET AL.

Lx] 1_| Ll Cy] "T Addrose of Court (Number, sirest, (own and zip code)
Judicial Housing Small Geographic 123 HOYT STREET, STAMFORD, CT.06908
District Session Claims Area number ' )

Scheduled Court date (CriminaMotor Vehicle Matters)

Please Enter the Appearance of

Name of self-reprasented party (Sea ‘Wotice to Sei/-Represenied Parties" st top), or name of Official, firm. professional corporation, or Individual] Juris number of altornay or firm

attomey | / .

JAYARDMAN KRISHNA

Malling Address (Number, sireei) (Notice lo allorneys and law fama - The address tv which pepers will be mallad fom the | Post office Box
court ig the one registered or affiliated with your jurta number, That address cannot 68 changed in (his form.)

Telephone number (Area code first)

1769 OENOKE RIDGE ,
Cityftown State | zip code Fax number (Arsa code ars). | E-mell addres
NEW CANAAN : CT 06840 :

in the case named above for: (*%" one of the following pariles; if this is a Family Matters case, also indicate the scope of your appearance)

(] The Plaintiff (includes the person suing another person).
[_] All Plalritiffs.

[_] The following Plaintiff(s) only:

["] The Defendant (includes the person being subd or charged with a crime). en

[_| The Defendant for the purpose of the bail hearing only (in criminal and motor vehicle cases only),
[J All Defendants, | - a

[x] The following Defendant(s) only: JAYARDMAN KRISHNA a

£1 Other (Specify): | =~

- {D matters In the Family Division of the Superior Court _”.[[] Title IV-D Child Support matters

("] This ts a Family Matters case and ete Sure (x"oneorboth) ee
a

Note: if other counsel or a self-represented party has alre

‘an "x" in box 1 or 2 below:

1. () This appearance is in place of the appearance of the following attorney,
firm or self-rapresented party on file (P,B. Sec. 348): \

led an appearance for the party or parties "x‘d" above, put

Name ard Jurls Numb
2. (_] This appearance is in addition to an appearange already on file. ame en ue umber)

4
| agree to accept pakers (service) electronically In this case under Practlee Book Section 10-13

f]Yes []No
Signed (individual attorney or est-re Boned POET emer Name of paren aligning at left (Print or fypa) Date signed
> \: — | JAYARDMAN KRISHNA 07/19/2018

Certification |

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| certify that a copy of this document was malled or delivers electronically or non-elactronically on (date) 3S tl esto all attorneys
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Signed (Signalyre of a), atin Print or type name of person signing Date signed Talephone number tt os — “| y
> ————, ._ | Jayardman Krishna 07/19/2018 A

“If necessary, attach an additional sheet or sheets with the namo of each party and the address which the copy was mailed or delivered to.

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